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                            IN THE UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF COLORADO

 In re:                                                       )                            Case No. 21-11011-EEB
                                                              )
 R. INVESTMENTS, RLLP,                                        )                                       Chapter 11
 EIN: XX-XXXXXXX                                              )
                                                              )
            Debtor.                                           )

                                 AMENDED WITNESS AND EXHIBIT LIST

            R. Investments, RLLP (the “Debtor”), by and through its undersigned counsel, for its

 Amended Witness and Exhibit List (the “Witness & Exhibit List”) for the evidentiary hearing on

 the Debtor’s Amended Plan of Reorganization Dated August 16, 2021 [Docket No. 251] (the

 “Plan”) and DS VI, LLC’s Objection to Confirmation of the Debtor’s Amended Chapter 11 Plan

 of Reorganization Dated August 16, 2021 [Docket No. 272] set for March 7, 2022 at 9:30 PM MT

 before the Honorable Elizabeth E. Brown, U.S. Bankruptcy Court, 721 19th Street, Courtroom F,

 Fifth Floor, Denver, Colorado 80202.

                                                      WITNESSES

            The Debtor will call the following witnesses at the Hearing:

            1.       Mr. William Travis Steffens, CEO and member of the Debtor and the Non-Debtor

 Affiliates.1 Mr. Steffens will testify as to the structure of the business plan and future deals,

 including the amount of the acquisition, asset management, software licensing, management, and

 construction fees; the process by which the Debtor identifies and selects properties; his relationship

 with property-level investors; and opportunities presently pursued by the Debtor and the Non-

 Debtor Affiliates.




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     Capitalized terms not defined herein shall have their same meaning as set forth in the Plan.
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        2.        Ms. Gina Milano, COO for the Debtor and certain Non-Debtor Affiliates. Ms.

 Milano will testify as to past projects, including Fox Run and Matador North Apartments and

 Waterfront Terrace; the current acquisition of the Mill Street Village property located in Athens,

 Ohio; operations at current properties in which the Debtor and the Non-Debtor Affiliates generate

 revenue; the lawsuit against certain insurers in the Circuit Court for Baltimore County, Maryland,

 Case No. C-03-CV-20-003979; the status of certain tax rebates; and other forms of revenue

 collected by the Debtor and the Non-Debtor Affiliates.

        3.        Mr. Sudhin Roy, Kinetic Advisors LLC. Mr. Roy will testify as to the projections

 in the Amended Disclosure Statement in Support of Amended Chapter 11 Plan of Reorganization

 Dated August 16, 2021 [Docket No. 256-2]; and the market cost of capital for the deals the Debtor

 intends to finance under the Plan.

        The Debtor may call the following witnesses at the Hearing:

        1.        Mr. Michael Bennett, CFO of the Debtor and certain Non-Debtor Affiliates. Mr.

 Bennett may testify as to the financial condition and documents of the Debtor and certain Non-

 Debtor Affiliates.

        2.        Mr. William O. Brisben. Mr. Brisben may testify about his equity investment in the

 Athens, Ohio deal; and his desire to finance other deals with the Debtor at similar terms.

        3.        Any witness listed or used by any other party.

        4.        Any witness necessary to rebut the testimony of a witness called or designated by

 another party.

        5.        Any witness for the purpose of foundation, rebuttal, or impeachment.

        6.        Any other witnesses present at the Hearing the Debtor deems necessary.




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                                             EXHIBITS

 The Debtor may introduce the following exhibits at the Hearing:

        1.      Any exhibit enumerated on Attachment 1 to this Witness & Exhibit List.

        2.      Any exhibit or demonstrative designated or used by any other party, and to which

 the Debtor does not object to its admissibility.

        3.      Any exhibits necessary to rebut the testimony of witnesses called or designated by

 another party or the evidence or arguments presented by another party.

                                  RESERVATION OF RIGHTS

        The Debtor reserves the right to amend or supplement this Witness and Exhibit List at any

 time prior to the Hearing, including, but not limited to, designating other witnesses under F.R.C.P.

 26(a)(2) as incorporated by Fed. R. Bankr. P. 7026.




 Dated: March 2, 2022                               /s/ Patrick R. Akers
                                                    Timothy M. Swanson (47267)
                                                    Patrick R. Akers (54803)
                                                    MOYE WHITE LLP
                                                    1400 16th Street, Suite 600
                                                    Denver, Colorado 80202
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                                                    Counsel for the Debtor




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                                     Attachment 1

    Exhibit           Description             Offered   Admitted      Additional
                                             (Yes/No)   (Yes/No)      Comments
       1      Past Performance P&L
       2      1840 McCullough Avenue,
              LLC Operating Agreement
       3      Fox Run & Matador North
              Settlement Statement
       4      Fox Run Property
              Management Agreement
       5      Matador North Property
              Management Agreement
       6      Fox Run Income Statement
       7      Matador North Income
              Statement
       8      Fox Run Stabilization
              Figures
       9      Matador North Stabilization
              Figures
      10      A.V. Indy 1, LLC Operating
              Agreement
      11      Waterfront Terrace
              Settlement Statement
      12      Athens Investment Overview
      13      Athens Investment Packet
      14      Athens Term Sheet
      15      Athens Escrow Payment #1
      16      LOI for Abe’s Motel & Fly
              Shop
      17      LOI for America’s Best Inn
      18      LOI for Best Airport Inn
      19      LOI for Days Inn
      20      3583 Alaska Avenue
              Partners, LLC Operating
              Agreement
      21      Dwell Income Statement
      22      Dwell Stabilization Figures
      23      1905 Elmore Street Partners,
              LLC Operating Agreement
      24      Renaissance Income
              Statement
      25      Renaissance Stabilization
              Figures
      26      Dwell/Renaissance
              Estimated Sale Proceeds
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    Exhibit           Description             Offered   Admitted      Additional
                                             (Yes/No)   (Yes/No)      Comments
      27      3501 E Independence Place
              Operator, LLC Operating
              Agreement
      28      Independence Place Hotel
              Lease Agreement
      29      Independence Place Income
              Statement
      30      Independence Place Property
              Management Agreement
      31      Independence Place
              Stabilization Projections
      32      3001 University Center
              Drive, LLC Operating
              Agreement
      33      Karma Nest Hotel Lease
              Agreement
      34      Karma Nest Income
              Statement
      35      Karma Nest Property
              Management Agreement
      36      Karma Nest Stabilization
              Figures
      37      Karma Nest Stabilization
              Projections
      38      Studio One Income
              Statement
      39      Studio One Property
              Management Agreement
      40      Studio One Airbnb
              Collections
      41      Studio One Stabilization
              Figures
      42      Hillside Crossing, LLC
              Operating Agreement
      43      Hillside Crossing, LLC
              Option Agreement
      44      Hillside Crossing Airbnb
              Collections
      45      South Point Village Property
              Management Agreement
      46      South Point Village Income
              Statement
      47      United Tiny Homes Term
              Sheet (December 21, 2021)
      48      United Tiny Homes Term
              Sheet (January 10, 2022)


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    Exhibit           Description              Offered   Admitted      Additional
                                              (Yes/No)   (Yes/No)      Comments
      49      Tax Rebate Status
      50      Insurance Complaint
      51      Amended Disclosure
              Statement
      52      Proposed Second
              Amendment Plan
      53      Purchase and Sale of
              Leasehold Interest
              Agreement (Athens)
      54      Abe’s Fly Shop and Motel
              Investment Packet
      55      RI Projections (2022-02-22)
      56      Amended and Restated
              Operating Agreement for
              Hillside Crossing, LLC
      57      First Amended Operating
              Agreement for 1840
              McCullough Avenue, LLC
      58      United Tiny Homes II, LLC
              Operating Agreement
       *      Any pleading, order, or
              document filed or entered in
              this case
       *      Any exhibit offered or listed
              by another party
       *      Any exhibit for purposes of
              rebuttal or impeachment




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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 2, 2022, I caused the foregoing Amended Witness and
 Exhibit List to be served via CM/ECF to all parties that have filed electronic appearances and
 requested service in this case.


                                                          /s/ Patrick R. Akers
                                                          Patrick R. Akers
